                       UNITED STATES DISTRICT COURT

                       WESTERN DISTRICT OF LOUISIANA
                          LAKE CHARLES DIVISION

ING BANK N.V.                                CIVIL ACTION

v.                                           NUMBER: 2:16-cv-01003

M/V CHARANA NAREE, IMO No. 9296303,          JUDGE JAMES D. CAIN, JR.
her engines, tackle, equipment, furniture,
appurtenances, etc., in rem                  MAGISTRATE JUDGE KAY

                                             ADMIRALTY


     MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
              AND/OR PARTIAL SUMMARY JUDGMENT




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MAY IT PLEASE THE COURT:

           The following Memorandum is submitted by Precious Ventures Limited ("PVL"),

in rem claimant of the M/V CHARANA NAREE, in support of its Motion for Summary

Judgment and/or Partial Summary Judgment.

I. BACKGROUND

           This action was commenced by the filing of a Verified Complaint by ING Bank

N.V. (“ING”) against the M/V CHARANA NAREE (the “Vessel”), in rem. The Vessel was

arrested under process issued by this court and was held under arrest until substitute

security consisting of a cash deposit into the court registry of $310,102.98 was made on

behalf of the Vessel.

           The Verified Complaint seeks payment for fuel oil, also known as bunkers,

delivered to the Vessel. The bunkers were actually provided to the Vessel by Vemaoil

Company Limited (“Vemaoil”), which was a sub-contractor of Macoil or, per paragraph 7

of Macoil’s Intervening Verified Complaint (R.Doc. 29), the “delivery agent.” Macoil has

filed an Intervening Verified Complaint and Cross-Claim against ING Bank N.V. (R. Doc.

29) also seeking payment for the same bunkers.                        Macoil alleges it was the actual

physical supplier of the bunkers, although the bunker delivery receipt identifies Vemaoil

as the supplier. (See Vemaoil Bunker Delivery Receipt (Exhibit “A.”)

           The bunkers were not ordered by the Vessel or her owner, but were instead

ordered by a time charterer of the Vessel, Copenship Bulkers A/S (“Copenship”).1

Paragraph 9 of the Verified Complaint (R. Doc. 1) confirms that the bunkers were

ordered by “Copenship, the charterers of the CHARANA NAREE at the time.” A sales


1   A time charterer essentially leases the vessel (with her crew) and often supplies the fuel oil for the
       voyages arranged by same.

                                                        1
order confirmation, attached hereto as Exhibit “A” to the Verified Complaint, also

confirms that the bunkers were ordered by Copenship. Neither the Vessel nor her owner

was involved in this transaction, and the Vessel owner has no relationship to Copenship

except for the arms-length time charter agreement.

       ING purports to derive its maritime lien-holder status based on an assignment

from O.W. Bunker & Trading A/S (“O.W. Bunker”) governed by English law (see certain

English Omnibus Security Agreement dated December 19, 2013 (“Security Agreement”)

attached as Exhibit 18 to R.Doc. 72.) In other words, the question whether ING can

recover from the Vessel and her owner is a question of English law and as discussed

further below, it appears that under English law a maritime lien is not transferable.

       Nevertheless, ING improperly attempts to enforce the terms and conditions of a

contract between O.W. Bunker and Copenship against the Vessel and her owner. ING

also improperly contends that the terms and conditions applicable to the bunker sale

agreement between O.W. Bunker and Copenship, including the governing law (choice-

of-law provisions), extend to ING’s alleged claim against the Vessel.

       The bunkers in question were ordered by a non-U.S. charterer, Copenship, from

a non-U.S. bunker broker, O.W. Bunker & Trading A/S (“O.W. Bunker”). (Complaint,

¶9.) The bunkers were delivered to the Vessel in Gibraltar. (Complaint, ¶17.) There is

a complete absence of U.S. contacts in the sale and supply of the bunkers, and a

complete lack of privity of contract between ING and the Vessel. Plaintiff nevertheless

seeks to use the general terms and conditions of O.W. Bunker to assert a lien under

U.S. maritime law against the third-party the Vessel. This should not be allowed.




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      Further, Plaintiff seeks to recover from the owner of the vessel usurious interest

of 3% per month (Complaint, ¶18), a “delayed payment administrative fee” of $1.50 per

metric ton (Id.) and attorneys’ fees and costs (Complaint, ¶19).             While these

unconscionable contractual penalties might possibly be recoverable from the party to

the contract, assuming ING has standing —which is denied— they certainly cannot be

recovered under a maritime lien even if —which is denied— one exists.

      PVL moves for summary judgment on the following grounds:

      1. ING has no standing to bring a claim against the Vessel and her owner

because any assignment of a maritime lien and the ancillary right to an in rem action

from O.W. Bunker to ING is unenforceable as maritime liens are not transferable under

English law;

      2. Prior to the supply of bunkers to the Vessel, O.W. Bunker specifically agreed

that it would not arrest PVL vessels for non-payment by charterers of PVL vessels; this

agreement was given in consideration for the commitment by PVL to use O.W. Bunker

when ordering bunkers for PVL’s own account;

      3. There is no basis for U.S. law to apply to this foreign transaction and,

therefore, no basis for a maritime lien against the vessel under U.S. law;

      4. Even if U.S. law applies, which is denied, any lien ING held was lost through

the doctrine of laches; specifically, ING delayed nearly two years before filing its lien

claim and during this time, charterer Copenship went into bankruptcy, prejudicing PVL’s

ability to recover from Copenship;

      5. If U.S. law applies and if this lien has not been lost due to laches, which is

denied, plaintiff is still prohibited from recovering contractual interest, administrative



                                            3
fees, and contractual attorneys’ fees from parties other than the party which contracted

with O.W. Bunker.

II. LAW AND ANALYSIS

          Summary judgment should be granted when “the pleadings, depositions,

answers to interrogatories, and admissions on file, together with affidavits, if any, show

that there is no genuine issue as to any material fact and that the moving party is

entitled to judgment as a matter of law.”2 In Celotex Corp. v. Catrett, the Supreme Court

held that summary judgment must be granted if the non-movant fails to make a showing

sufficient to establish the existence of an element essential to that party’s case, and on

which that party will bear the burden of proof at trial.3 The Court reasoned that in such a

situation, there can be “no genuine issue as to any material fact,” since a complete

failure of proof concerning an essential element of the nonmoving party’s case

necessarily renders all other facts immaterial.

          The party opposing the motion “must come forward with specific facts showing

that there is a genuine issue for trial.”4 But “the mere existence of a scintilla of evidence”

in support of the non-moving party is not sufficient to show a genuine issue of material




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    Fed. Rule Civ. Pro. 56(c).
3
    Celotex Corp., 477 U.S. 317, 322 (1986).
4
    Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587, 106 S. Ct. 1348 (1986).
    Donaghey v. Ocean Drilling & Exploration Co., 974 F. 2d 646, 649 (5th Cir. 1992); Martin v.
    John W. Stone Oil Dist., Inc., 819 F. 2d 547, 549 (5th Cir. 1987).


                                                 4
fact.5 So, “[i]f the evidence is merely colorable, or is not significantly probative,”

summary judgment is appropriate.6

          As shown below, PVL is entitled to summary judgment as a matter of law and

there are no genuine issues of material facts as to the following:

1.        Any assignment of rights from O.W. Bunker to ING is unenforceable to the
          extent it includes a maritime lien and the ancillary right to an in rem action.

          ING asserts that it is the assignee of all of O.W. Bunker’s rights, title and

interests in certain assets, including customer accounts receivable for bunker deliveries

and the amounts owed to O.W. Bunker for same under a certain Security Agreement

(R. Doc. 1 ¶4, 6). According to ING, this assignment includes the right to institute this

action and enforce its alleged maritime lien against the Vessel, in the amounts owed to

O.W. Bunker for bunkers delivered to the Vessel (R. Doc. 1, ¶3-7).

          Clause 20 of the Security Agreement titled “Governing Law” contains a choice of

law provision and calls for the application of English law to “the Security constituted

hereunder and any non-contractual obligation arising out of or in connection with [that]

Deed.”

          ING’s right to a maritime lien is solely based on the purported assignment from

O.W. Bunker of its rights, title and interests arising out of the contract for the delivery of

bunkers between O.W. Bunker and Copenship. In other words, if the assignment of

those rights is not valid, ING has no standing to assert a maritime lien against the

Vessel.



5
    Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986).
6
    Id. at 249-50.


                                                 5
          Under English law, there is a long established view that a maritime lien is a

personal and non-transferable privilege.7 Because the Security Agreement between

ING and O.W. Bunker is governed by English law, any assignment of a maritime lien

and its ancillary right to an in rem action from O.W. Bunker to ING is ineffective and

thus, unenforceable. As such, ING has no standing to assert a maritime lien against the

Vessel.

          In the unlikely event that it is found that there is factual dispute as to the

ineffectiveness of O.W. Bunker’s assignment to ING, which is specifically denied, PVL

further asserts the following:

2.        O.W. Bunker specifically agreed to waive claims such as this in exchange
          for renewing business with PVL.

          By filing this action against the Vessel, Plaintiff ING violated an agreement

between O.W. Bunker and Precious Shipping Public Company Limited, Thailand

(“PSL”), the parent company of PVL.

          By way of background, bunker suppliers are well aware of the fact that bunkers

are often ordered by charterers of vessels. They are also aware that most charter

parties contain “no lien” clauses which prohibit charterers from incurring liens which can

be asserted against the vessel. Despite this, bunker suppliers attempt to ignore these

matters and seek recovery from vessel owners or vessels in rem for bunkers ordered by

charterers.

          This is not the first time that PSL was called to pay an outstanding invoice for

bunkers delivered to one of its Vessels on the order of her charterers. Specifically,

O.W. Bunker group, through the manager of its legal department, Claus E. Mortensen,


7   D.R. THOMAS, BRITISH SHIPPING LAWS VOL. 14 MARITIME LIENS (1980).

                                                    6
repeatedly demanded payment from PSL and its vessel APISARA NAREE for bunkers

ordered by charterers. (See attached email from Mr. Mortensen dated June 17, 2003,

Exhibit “B”). Mr. N. Vasudevan of PSL wrote to Mr. Mortensen on 18 June 2003 noting

the no lien clause in the charter party and denying responsibility for payment of the

bunkers in question. (See attached email from Mr. Vasudevan, Exhibit “C”). Following

this incident, PSL stopped doing business with O.W. Bunker when purchasing bunkers

for its own account.

       In 2005, O.W. Bunker requested that PSL reconsider its refusal to do business

with O.W. Bunker. On June 14, 2005, PSL wrote an e-mail to O.W. Bunker Far East

Pte Ltd., stating:

              Many thanks your email and the interest in reviving the
              business relations. Our company has agreed to reinstate
              O.W. BUNKERS as one of the bunker suppliers for PSL
              vessels on the explicit understanding that O.W. Bunkers
              will not approach PSL and/or arrest or cause to be
              arrested any vessel owned/operated by PSL for claims
              relating to bunkers supplied to PSL vessels on orders
              placed by the said vessels’ time-charterers and/or
              anyone other than PSL. (emphasis added). (Exhibit “D”)

       O.W. Bunker Far East specifically confirmed their agreement to this:

              I hereby confirm your wording as per below and we hereby
              acknowledge that this will be the basis for any business
              transaction between the parties. (Exhibit “E”)

       Despite this clear agreement, ING commenced this action against a PSL-

controlled vessel for bunkers ordered by a time charterer (Copenship).

       ING should be prohibited from demanding payment from a PSL-controlled entity

for an obligation created by the Vessel’s charterer. Such a scenario is exactly the kind

of risk that PSL wanted to avoid when it ceased doing business with O.W. Bunker and



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what it wished to be protected from when it conditioned renewing business with O.W.

Bunker on the latter’s promise to not seek arrest of PSL-controlled vessels for bunkers

ordered by anyone other than PSL. On the basis of that understanding, PSL changed its

position and resumed doing business with the O.W. Bunker group to its detriment

considering the arrest of the Vessel and all the costs it has incurred to date in the

process of defending against the present lawsuit.

      O.W. Bunker may try to renege on its agreement by arguing that it was made by

only one particular O.W. Bunker entity, i.e. O.W. Bunker Far East. The agreement by

PSL (Exhibit “B”) referred to O.W. Bunkers not any specific O.W. Bunker subsidiary or

affiliate. PSL specifically asked for confirmation of “understanding and agreement,” and

O.W. Bunker confirmed the wording and agreement without any reservation that it

applied only to O.W. Bunker Far East. Moreover, in 2003 when O.W. Bunker pushed

for payment of bunkers delivered to the PSL-associated vessel APISARE NAREE,

demand letters were sent by Claus E. Mortensen of OWB Group Worldwide. (Exhibit

“F”) O.W. Bunker cannot be allowed to act as one entity when that suits it purposes,

and separate entities when that is to their advantage.

      Further, ING itself indirectly recognizes the single business operation of O.W.

Bunker group when it claims to be the assignee of the group’s claims even though in

most cases the agreements with the different physical suppliers concerned entities

within the O.W. Bunker group, such as O.W Bunker Far East or O.W. Bunker Spain.

        Assuming ING is the assignee of O.W. Bunker, which is specifically denied, it

should be precluded from bringing the present action in violation of the clear agreement




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between O.W. Bunker group and PSL that claims such as this one were waived by

O.W. Bunker in exchange for PSL’s business.

3.     U.S. law, including U.S. maritime lien law, does not apply to this case.

       There is no basis for United States law to apply to this transaction involving the

supply of bunkers in Gibraltar to a non-U.S. flag vessel chartered by a non-U.S. entity

from a non-U.S. vessel owner. Plaintiff ING makes no argument that United States law

applies of its own force. Instead, ING refers to the contract between O.W. Bunker and

Copenship to invoke a maritime lien. (Complaint, ¶¶ 13-15.) That may possibly be

sufficient to invoke United States law in a claim against Copenship, but it is not sufficient

to validly apply U.S. law to a non-party to the agreement.

       Maritime liens for necessaries arise solely by operation of law and cannot be

granted via contracts between the parties. (See Gulf Coast Trading & Transp. O. v.

Vessel Hoegh Shield, 658 F.2d 363, 366, 1982 AMC 1139, 1144 (5th Cir. 1981) (noting

a distinction between a sales contract between a bunker supplier and charterer and the

application of a maritime lien in favor of a supplier).

       Courts and academics alike have clearly and convincingly reasoned that choice-

of-law provisions should not be dispositive in determining availability of a maritime lien.

Courts should employ a traditional choice-of-law analysis inquiring whether there are

sufficient connections between a claim and the United States to justify making the

remedy of a U.S. Maritime lien available to the claimant. See, e.g., Martin Davies,

Choice of Law and U.S. Maritime Liens, 83 Tul. L. Rev. 1435, 1446 (2009) (advocating

for courts to complete a separate choice-of-law analysis); Mark S. Davis & Jonathan T.

Tan, To Port or Starboard? Why the Supreme Court Might Provide Direction to Those

Navigating Choice-of-law Questions in Maritime-Lien cases: The 2015 Nicholas J. Healy

                                              9
Lecture, 46 J. MAR. L. & COM. 395, 418, 458 (2015) (noting the “lack of clarity in the

majority approach to the maritime-lien-choice-of-law issue, about the weight that should

be given to a choice-of-law clause”); Chelsea Crews, The Liening Tower of Precedent:

The Fifth Circuit Further Fractures Consensus on Choice-of-Law Clauses Governing

Maritime Lien in World Fuel Services Singapore Pte, Ltd. v. Bulk Juliana M/V, 41 TUL.

MAR. L.J. 585 (2016-2017) (noting that giving automatic deference to contractual choice-

of-law provisions “could require courts to hear an immeasurable number of maritime lien

cases with virtually no connection to the United States other than the parties’ selection

of U.S. law”); Rainbow Line Inc. v. M/V Tequila, 480 F. 2d 1024, 1026, 1973 AMC

1431, 1433 (2d. Cir. 1973) (relying on the multi-factor choice-of-law analysis in

Lauritzen v. Larsen, 345 U.S. 571, 1953 AMC 1210 (1953)); O.W. Bunker Malta Ltd. v.

M/V TROGIR, 602 F. Appx. 673, 677 (9th Cir. 2015) (Watford J. concurring); Neftehim

Bunker, J.S.C. v. Ridgebury Nicholas MV, 2017 AMC 84 (E.D.La. 2016). The opposite

approach8 which seems to be that contractual choice-of-law provisions essentially

displace the need to perform a traditional choice-of-law analysis (See, Crews supra at

588) has the inequitable and intolerable result that parties may adversely affect the

rights of third parties, including mortgagees and other lien claimants against the ship in

question.

          Further, academics who convincingly argue against the idea that parties can

attempt to contractually apply United States maritime lien law also point out that that it is

a well-established proposition that U.S. law should apply only within the territorial

jurisdiction of the United States to protect against conflicts with the laws of other nations


8   See World Fuel Servs. Sing, Pte, Ltd. v. Bulk Juliana M/V, 822 F.3d 766, 768-69, 2016 AMC 2723,
      2724-26 (5th Cir. 2016), petition for cert. denied 137 S. Ct. 2290 ( U.S. June 26, 2017) (No. 16-26).

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which could result in “international discord.” 9 (See Equal Emp’t Opportunity Comm’n v.

Arabian Am. Oil Co., 499 U.S. 244, 248 (1991). That is especially concerning in the

surveyed cases involving maritime liens. (See Davis supra at 273-5).

          As already mentioned, here, PVL was not a party to the bunker supply contract

between O.W. Bunker and Copenship and did not agree to the application of United

States law. The mere fortuity of the vessel traveling to a United States port nearly two

years after the bunkers were supplied in another country should not result in the

application of U.S. maritime lien law to this claim.

4.        Even if U.S. maritime lien law applies, the lien here was lost due to laches.

          The bunkers in question were provided in October 2014. (See Exhibit A to ING’s

Verified Complaint, R. Doc. 1). Payment was due in November 2014. (See O.W.

Bunker’s Invoice attached as Exhibit D to ING’s Verified Complaint, R. Doc. 1). The

company ordering the bunkers, Copenship, declared bankruptcy in February 2015.

However, ING/O.W. Bunker delayed until July 2016 before seeking to arrest the vessel.

Had ING taken more timely action, PVL would have been in a better position to exercise

its rights against the charterer, instead of being in line in the bankruptcy proceedings

along with every other creditor of Copenship, uncertain if it would actually collect any of

the money paid to ING/O.W. Bunker.

          Laches is an equitable doctrine which, if proved, is a complete defense to a

claim. Laches arises when there has been a delay in asserting a maritime claim

subjecting the defendant to a disadvantage in asserting or establishing a defense to the




9   Martin Davies, Maritime Liens and Choice of Law : 27th Biennial Admiralty Law Institute of Tulane
      University, 42 TUL. MAR. L. J. 269 (2017-2017)

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claim. Union Pac. R.R. Co. v. Dunham Price Marine, LLC, 2008 W.L. 3539726, at *2

(W.D.La. Aug. 13, 2008, internal citations omitted).

      Leopard Marine & Trading, Ltd. v. Easy Street Ltd., 2016 U.S. Dist. LEXIS 51568

(S.D.N.Y. Apr. 6, 2016) shares analogous facts with this case. There, the United States

District Court for the Southern District of New York dismissed a maritime lien claim

asserted by the bunker supplier due to laches. Bunkers were ordered on August 23,

2011 by the charterer. Like here, several months later, on November 6, 2012, the

charterer was declared bankrupt by a court in Greece. The supplier of bunkers made no

attempt to arrest the vessel prior to the charterer’s bankruptcy, and the court found

inexcusable delay by the supplier of the bunkers and held that it was barred from

enforcing the maritime lien by laches.

      ING made no effort to arrest the Vessel or even put her owner on notice of the

outstanding amount that was due by the charterer until almost two years after the

amount for the bunkers supplied to the Vessel became due. Most critically, ING made

no effort to arrest the Vessel or put her owner on notice before the charterer declared

bankruptcy, several months after O.W.’s bill became due.

      Had PVL known that there was an outstanding bill for bunker supplies and that

her Vessel was under a threat to be arrested, it would have endeavored to exercise all

of its rights under the charter party agreement with Copenship at the time of the

Vessel’s delivery back to PVL in December 2014 when the charter party agreement

expired. Bringing a claim in bankruptcy, like PVL did here, where there are no

warranties as to recovery is on its own terms prejudicial. ING’s delay in bringing the

present action was inexcusable and prejudicial to PVL. As such, to the extent it is found



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that ING has a maritime lien, which is specifically denied, it should be barred under

laches.

5.     Even if, which is denied, plaintiff has a right to pursue a U.S. maritime lien,
       the lien does not extend to attorneys’ fees or interest.

       In addition to seeking the invoice amount for the bunkers totaling $206,735.32,

plaintiff also seeks contractual interest at the exorbitant amount of 3% per month,

administrative fees, and $50,000 for accrued and anticipated attorneys’ fees. This is all

based on provisions in the contract between O. W. Bunker and Copenship. The vessel

was not a party to this contract and the law is clear that contractual interest and

contractual attorneys’ fees cannot be claimed under a maritime lien.

       In Gulf Marine & Indus. Supplies, Inc. v. Golden Prince M/V, 230 F.3d 178, 2001

AMC 817 (5th Cir. 2000), the Fifth Circuit held that while the list of necessaries

enumerated at 46 U.S.C.S. § 31301 of the Federal Maritime Law Act (“FMLA”) —which

was later re-codified to the Commercial Instruments and Maritime Liens Act (“CIMLA”)—

is not exhaustive, “legal services do not fit naturally into this list of traditional shore-to-

ship goods and services.” The Court went on to note that “[s]ince Congress enacted the

FMLA, courts have consistently held that legal services are not necessaries” and that

these fees to collect a debt for necessaries did not help the Vessel function. (Gulf

Marine, 230 F.3d 180-81). See also Triton Marine Fuels, Ltd. v. M/V Pac. Chukotka, 671

F. Supp. 2d 753 at *761 (D. Md. 2009) citing James Creek Marina v. Vessel My Girls,

964 F. Supp. 20, 23 (D.D.C. 1997) (determining security to be posted to release an

arrested vessel, and holding that attorney’s fees – incurred by creditor trying to collect

debt for necessaries—were not necessaries).




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      As to pre-judgment interest, PVL concedes that to the extent that ING has a

maritime lien under CIMLA —which is specifically denied— that lien covers some pre-

judgment interest. “However, a maritime lien for necessaries does not necessarily

govern the contractual pre-judgment interest rate.” (Triton Marine Fuels, 671 F. Supp.

2d at 764 quoting among other cases Gulf Marine & Indus. Supplies, 1999 U.S. Dist.

LEXIS 11500, 1999 WL at *4 (emphasis added); Galveston Yacht Serv. Inc. v. Yacht

Patricia, 1984 AMC 1719, 1981 WL 463 *2 (S.D. Tex. 1981) (dicta) (“Even where

parties in this action have entered into a contract expressly providing for interest on

amounts due thereunder, it is doubtful whether the maritime lien [for providing

necessaries under the FMLA] asserted would encompass a claim for such interest.”).

      As such it is clear that ING is not entitled to any attorney fees, administrative

costs, or the usurious interest rate specified in the contract between O.W. Bunker and

Copenship.

III. CONCLUSION

      It is undisputed that: (1) O.W. Bunker’s assignment of a maritime lien to ING is

ineffective under English law because a maritime lien is not transferrable; (2) O.W.

Bunker has specifically agreed to waive claims such as this in exchange for renewing

business with PVL; (3) there is no connection between the U.S. forum and this dispute

and U.S. maritime law should not apply; (4) to the extent that ING has a maritime lien it

is barred by laches; and, (5) ING is not entitled to legal fees, administrative costs, and

excessive contractual pre-judgment interest of 3% per month.

      For these reasons, PVL urges the Court to grant the relief it seeks.




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                Respectfully submitted,

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